EXHIBIT 2
Fehribach, Joseph

From:                                  Pollack-Milgate, Deborah
Sent:                                  Friday, December 1, 2023 3:46 PM
To:                                    Duncan Byers
Cc:                                    Moye, John; Fehribach, Joseph
Subject:                               RE: [EXTERNAL] RE: Defendant's Proposed Claim Construction


Duncan,

Your responses are unacceptable and shocking given the delay you have already caused. As part of the complaint in this
matter, you provided an opinion of counsel. That results in a waiver of privilege. If you need authority for this very clear
proposition, let me know.

Additionally, after failing to respond on multiple occasions you stated: “I am confirming that we will produce everything
that we have responsive to the discovery requests.” Based on this representation, we understood that you would be
producing documents in full as requested and as were responsive to the requests (as you indicated). Trimaco thought
that your delay had not compromised our scheduling order because we would receive Markman-related discovery
within the discovery window, which closes on December 7, 2023. This was not so.

Please confirm that you produce all documents related to the opinion of counsel by Monday as originally requested –
and confirmed by you. Otherwise, we will need to move to compel. Now that you have also decided to test the products
after the fact for purported infringement, please also produce the test protocols. We have no ability to understand the
test methods followed and require that information immediately as part of the Markman discovery.

Very truly yours,

Deborah



Deborah Pollack-Milgate | Partner
Barnes & Thornburg LLP
11 South Meridian Street, Indianapolis, IN 46204
Direct: (317) 231-7339 | Mobile: (317) 371-7602




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From: Duncan Byers <dbyers@dbyerslaw.com>
Sent: Monday, November 27, 2023 10:15 PM
To: Pollack-Milgate, Deborah <Deborah.PollackMilgate@btlaw.com>
Cc: Moye, John <JMoye@btlaw.com>; Fehribach, Joseph <Joseph.Fehribach@btlaw.com>
Subject: RE: [EXTERNAL] RE: Defendant's Proposed Claim Construction

Caution: This email originated from outside the Firm.



                                                                    1
See attached.

Duncan G. Byers

BYERS LAW
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From: Pollack-Milgate, Deborah <Deborah.PollackMilgate@btlaw.com>
Sent: Monday, November 27, 2023 10:15 AM
To: Duncan Byers <dbyers@dbyerslaw.com>
Cc: Moye, John <JMoye@btlaw.com>; Fehribach, Joseph <Joseph.Fehribach@btlaw.com>
Subject: RE: [EXTERNAL] RE: Defendant's Proposed Claim Construction

Duncan,

So far as I can tell, you are late yet again in providing responses and documents. Please advise why we should not bring a
motion to compel or move for other sanctions.

Thank you,

Deborah

Deborah Pollack-Milgate | Partner
Barnes & Thornburg LLP
11 South Meridian Street, Indianapolis, IN 46204
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                                                                    2
From: Duncan Byers <dbyers@dbyerslaw.com>
Sent: Friday, November 17, 2023 2:42 PM
To: Pollack-Milgate, Deborah <Deborah.PollackMilgate@btlaw.com>
Cc: Moye, John <JMoye@btlaw.com>; Fehribach, Joseph <Joseph.Fehribach@btlaw.com>
Subject: RE: [EXTERNAL] RE: Defendant's Proposed Claim Construction

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I am confirming that we will produce everything that we have responsive to the discovery requests.

Duncan G. Byers

BYERS LAW
1769 Jamestown Road, Suite 120
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Email: dbyers@dbyerslaw.com
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https://www.linkedin.com/in/duncangbyers/




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From: Pollack-Milgate, Deborah <Deborah.PollackMilgate@btlaw.com>
Sent: Friday, November 17, 2023 2:35 PM
To: Duncan Byers <dbyers@dbyerslaw.com>
Cc: Moye, John <JMoye@btlaw.com>; Fehribach, Joseph <Joseph.Fehribach@btlaw.com>
Subject: Re: [EXTERNAL] RE: Defendant's Proposed Claim Construction

Duncan,

This does not explain why you ignored the discovery responses and objections and all follow up until now.

We need documents and responses by next Friday. Please confirm that you will produce them because we have already
drafted our motion to compel based on weeks of no response.

I am not trying to be rude, but the lack of responsiveness is not ok and wastes our time.

Have a good weekend,

Deborah

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Sent from my iPhone


       On Nov 17, 2023, at 2:17 PM, Duncan Byers <dbyers@dbyerslaw.com> wrote:


       Caution: This email originated from outside the Firm.

       Deborah –

       Apologies; I’m just getting back to work from a week fighting a respiratory infection and trying to get
       caught up. I will get you responses tomorrow.

       Duncan G. Byers

       BYERS LAW
       1769 Jamestown Road, Suite 120
       Williamsburg, Virginia 23185
       Direct:    757.317.2779
       Facsimile: 757.231.3797
       Email: dbyers@dbyerslaw.com
       ________________________________________
       https://www.linkedin.com/in/duncangbyers/




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       From: Pollack-Milgate, Deborah <Deborah.PollackMilgate@btlaw.com>
       Sent: Wednesday, November 15, 2023 9:17 AM
       To: Duncan Byers <dbyers@dbyerslaw.com>; Moye, John <JMoye@btlaw.com>
       Cc: Fehribach, Joseph <Joseph.Fehribach@btlaw.com>
       Subject: RE: Defendant's Proposed Claim Construction

       Dear Duncan,

       Unless I have missed something, you have served neither responses nor objections nor produced any
       documents. Accordingly, we will file a motion to compel. If I have missed something, please let me know
       immediately.

       Deborah




                                                               4
Deborah Pollack-Milgate | Partner
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11 South Meridian Street, Indianapolis, IN 46204
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From: Pollack-Milgate, Deborah
Sent: Monday, October 30, 2023 4:52 PM
To: 'Duncan Byers' <dbyers@dbyerslaw.com>; Moye, John <JMoye@btlaw.com>
Cc: Fehribach, Joseph <Joseph.Fehribach@btlaw.com>
Subject: RE: Defendant's Proposed Claim Construction

Duncan,

We served document requests on you in August and have to date, so far as I know, received neither
objections nor documents.

Please provide documents and objections by the end of next week. In the absence of your cooperation,
we will move to compel. We reserve all rights, again, to raise objections, including seeking dismissal,
based on the failure to follow the deadlines in this matter.

Thank you for your cooperation.

Deborah

Deborah Pollack-Milgate | Partner
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Direct: (317) 231-7339 | Mobile: (317) 371-7602




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